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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No.: 19-cv-00874-RBJ-MEH

  WARNER RECORDS INC., et al.,

                     Plaintiffs,

  v.

  CHARTER COMMUNICATIONS, INC.,

              Defendant.
  ______________________________________________________________________________

    DECLARATION OF NEEMA T. SAHNI IN SUPPORT OF PLAINTIFFS’ PARTIAL
     OBJECTION TO SPECIAL MASTER’S AUGUST 12, 2020 ORDER RESOLVING
                              DISCOVERY DISPUTES
  ______________________________________________________________________________


          I, Neema T. Sahni, hereby declare and state as follows pursuant to 28 U.S.C. § 1746:

          1.         I am a partner of the law firm Covington & Burling LLP, attorneys of record for

  Plaintiffs. I submit this declaration in support of Plaintiffs’ Partial Objection to the Special

  Master’s August 12, 2020 Order Resolving Discovery Disputes. I have personal knowledge of all

  facts stated in this declaration, and if called upon as a witness, I could and would competently

  testify thereto.

          2.         Attached hereto as Exhibit 1 is a true and correct copy of Plaintiffs’ First Set of

  Requests for Production (“RFPs”) served on Charter Communications, Inc. (“Charter”) on June

  10, 2020.

          3.         Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the

  transcript of the May 18, 2020 hearing before Special Master Rodriguez.
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         4.        Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

  transcript of the July 2, 2020 hearing before Special Master Rodriguez.

         5.        Attached hereto as Exhibit 4 is a true and correct copy of an excerpt of a July 13,

  2020 chart of disputed discovery issues submitted to the Special Master for a July 15, 2020

  discovery conference, excerpted to reflect only the portion of that letter-brief that relates to the

  discovery issue that is the subject of the instant Objection.

         6.        Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

  transcript of the July 15, 2020 hearing before Special Master Rodriguez.

         7.        Attached hereto as Exhibit 6 is a true and correct copy of a July 17, 2020

  declaration from a Charter employee, and an associated cover letter from counsel for Charter.

         8.        Attached hereto as Exhibit 7 is a true and correct copy of a July 21, 2020

  declaration from Plaintiffs’ expert, Barbara Frederiksen-Cross, and an associated cover letter.

         9.        Attached hereto as Exhibit 8 is a true and correct copy of Charter's Third

  Supplemental Responses to Plaintiffs Second Set of Interrogatories.

         10.       Attached hereto as Exhibit 9 is a true and correct copy of Charter’s July 9, 2020

  privilege log.

         11.       Attached hereto as Exhibit 10 is a true and correct copy of a July 13, 2020 chart of

  privilege log challenges that Plaintiffs submitted to the Special Master for the July 15, 2020

  discovery conference.

         12.       Attached hereto as Exhibit 11 is a true and correct copy of a June 1, 2020 letter

  from Plaintiffs’ counsel to the Special Master.




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          13.       Attached hereto as Exhibit 12 is a true and correct copy of an excerpt of Charter’s

  Motion to Compel submitted to Special Master Rodriguez on July 16, 2020, excerpted to reflect

  only the portion of that letter-brief that relates to the discovery issue that is the subject of the instant

  Objection.

          14.     Attached hereto as Exhibit 13 is a true and correct copy of Plaintiffs’ Objections

  and Responses to Charter’s Second Set of Requests for Production, served on March 26, 2020.

          15.     Attached hereto as Exhibit 14 is a true and correct copy of an excerpt of Charter’s

  Statement of Pending Discovery Disputes and Plaintiffs’ Responses, exchanged with Plaintiffs

  on June 26, 2020, and submitted to Special Master Rodriguez on July 1, 2020 excerpted to

  reflect only the portion of that letter-brief that relates to the discovery issue that is the subject of

  the instant Objection.

          16.     Attached hereto as Exhibit 15 is a true and correct copy of an excerpt of

  Plaintiffs’ Opposition to Charter’s Motion to Compel, submitted to the Special Master on July

  21, 2020, excerpted to reflect only the portion of that letter-brief that relates to the discovery

  issue that is the subject of the instant Objection.



          I declare under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct.



          Executed this 19th day of August, 2020 in Los Angeles, California.

                                                            /s/ Neema T. Sahni
                                                            Neema. T Sahni



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